             Case 4:09-cr-40041-NJR                      Document 193 Filed 05/18/10                         Page 1 of 7                Page ID
AD 2458       (Rev. 09/08) Judgment in a Criminal Case             #551
              Sheet 1



                                         UNITED STATES DISTRICT COURT
                                                         Southern District of Illinois
                                                                          )
              UNITED STATES OF AMERICA                                    )          JUDGMENT IN A CRIMINAL CASE
                                  v.                                      )
                                                                          )
                      JAMES G. MORRIS                                                Case Number:              4:09CR40041-002-GPM
                                                                          )
                                                                          )
                                                                          )
                                                                                     USMNumber:
                                                                                                               08198-025         F/ L E-D-
                                                                          )          Stephen Welby
                                                                                     Defendant's Attorney
THE DEFENDANT:
~ pleaded guilty to count(s)        1 of the Indictment                                                                          NAy 18 2010
                                                                                                                           G.             .
Q pleaded nolo contendere to count(s)
   which was accepted by the court.
o was found guilty on count( s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                                 Offense Ended                  Count
21 USC 841(a)(I), 846,           Consp. to mfr., possess wlintent to dist., and distribute                              2/1/2009                    1
18 USC 2                         methamphetamine




       The defendant is sentenced as provided in pages 2 through                 7          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
Q The defendant has been found not guilty on count(s)
                                                                                                       - - - ....-                ..   __     ._-   .--   ..

Q Count(s)                                                o is    o are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material clianges in econonnc circumstances.



                                                                                   tv
                                                                          May17,20JO
                                                                          Date~r,~Udgment
                                                                                                             ._ _ _




                                                                          ,,~,:cc4 ~~-.-----
                                                                          Hon. G. Patrick Murphy, U. S. District Judge
                                                                          Name and Title of Judge           " - - - - - . ----




                                                                          Date       l
                 Case 4:09-cr-40041-NJR                      Document 193 Filed 05/18/10                           Page 2 of 7            Page ID
2AO 245B       (Rev. 09/08) Judgment in Criminal Case                  #552
               Sheet 2 - Imprisonment
                                                                                                                     Judgment     Page   2          of
DEFENDANT:                        JAMES G. MORRJS
CASE NUMBER:                      4:09CR40041-002-GPM


                                                                    IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:


 135 TOTAL MONTHS ON COUNT 1 OF THE INDICTMENT.



    I!!    The court makes the following recommendations to the Bureau of Prisons:

           That defendant be housed as close to home as possible.



    I!!    The defendant is remanded to the custody of the United States Marshal.

    o      The defendant shall surrender to the United States Marshal for this district:
           o     at                                     o    a.m.    Q    p.m.      on
           o     as notified by the United States Marshal.

    E!     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           o     before 2 p.m. on        ---~------




           o     as notified by the United States Marshal.

           o     as notified by the Probation or Pretrial Services Office.


                                                                           RETURN

I have executed this judgment as follows:




           Defendant delivered on                                                                   to

a                                                   _ _ , with a certified copy of this judgment.



                                                                                      --       ~~~--            ~--.~~~~       ..     ~~~--~--




                                                                                                                 UNITED STATES MARSHAL



                                                                                 By
                                                                                                         --D-EP-UT"Y''"UN~IT"'EDC;-;S""TA~T~ES -MA-RS-HAL--
                  Case 4:09-cr-40041-NJR                     Document 193 Filed 05/18/10                           Page 3 of 7            Page ID
AO 2458        (Rev. 09/08) Judgment in a Criminal Case                #553
               Sheet 3 - Supervised Release
                                                                                                                       Judgment-Page ____3__ of
DEFENDANT:                       JAMES G. MORRIS
CASE NUMBER:                     4:09CR40041-002-GPM
                                                               SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
5 TOTAL YEARS ON COUNT 1 OF THE INDICTMENT.

              The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the custody of
the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use ofa controlled substance. The
defendant shall submit to on~ drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as detennined by the
court. not to exceed 52 tests m one year.
          The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
o         future substance abuse. (Check, if applicable.)

          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

          The defendant shall cooperate in the collection of ON A as directed by the probation officer. (Check, ijapplicab/e.)

          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.c. § 16901, e/ seq.) as directed by
o         the P!"obation offic~~ !he Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a stucent, or was
          convicted of a quahrymg offense. (Check, if applicable.)

o         The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the Schedule of
Payments sheet oftfiis judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the
attached page.                                                                                      .

                                            STANDARD CONDITIONS OF SUPERVISION
     \)     the defendant shall not leave the judicial district without the pennission of the court or probation officer~
     2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each month;
     3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)      the defendant shall support his or her dependents and meet other family responsibilities;
    5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable reasons;
     6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess) use, distribute, or administer any controlled substance or
            any paraphernalia related to any controlled substances, except as prescribed by a physiCIan;
     8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony, unless
            granted permission to do so by the probation officer;
    10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
            observed in plain view of the probation officer;
  II)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
    \2)     the defendant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the permission of the
            court; and

    \3)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
            personal.hist~ry or ch~acteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance with
            such notificatIon reqUirement.
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AO 2458    (Rev. 09/08) Judgment in a Criminal Case             #554
           Sheet 3C - Supervised Release
                                                                                            Judgment-Page _ 4 __ of
DEFENDANT:                JAMES G. MORRIS
CASE NUMBER:              4:09CR40041-002-GPM

                                         SPECIAL CONDITIONS OF SUPERVISION
Defendant shall pay any financial penalty that is imposed by this Judgment and that remains unpaid at the time of supervised
release, or during the term of probation.
Defendant shall apply all monies received from income tax refunds, lottery winnings, judgments and/or any other anticipated
or unexpected financial gains to the outstanding court ordered financial obligation. Defendant shall immediately notify the
probation officer of the receipt of any indicated monies.
Defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office with
access to any requested financial information. Defendant is advised that the probation office may share financial information
with the Financial Litigation Unit.
Defendant shall participate as directed and approved by the probation officer in an evaluation and treatment, if
recommended, for narcotic addiction, drug dependence, or alcohol dependence, which includes urinalysis or other drug
detection measures, not to exceed 52 tests in a one-year period, as directed by the probation officer, and which may require
residence and/or participation in a residential treatment facility. Any participation will require complete abstinence from all
alcoholic beverages. Defendant shall pay for the costs associated Wlth substance abuse counseling and/or testing based on a
co-pay sliding fee scale approved by the Probation Office. Co-pay shall never exceed the total costs of counsehng.
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AO 2458    (Rev. 09/08) Judgment in a Criminal Case                 #555
           Sheet 5 - Criminal Monetary Penalties
                                                                                                               Judgment -   Page   ~. _ _   of
DEFENDANT:                         JAMES G. MORRIS
CASE NUMBER:                       4:09CR40041-002-GPM
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment                                            Fine                                      Restitution
TOTALS             $   100                                                $ 200                                    $   a

SC   The determination of restitution is deferred until                   An Amended Judgment in a Criminal Case (AD 245C) will be entered
     after such detennination.

SC   The defendant must make restitution (including community restitution) to the following Payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment colunm below. However, pursuant to 18 U.S.c. § 3664(1), all nonfederal victims must be paid
     before the United States is paId.

Name of Payee                                  Total Loss·                           Restitution Ordered                           Priority or Percentage




TOTALS                               $                            $0.00           $ - - - " - - - - -$0.00
                                                                                                     ---



£     Restitution amount ordered pursuant to plea agreement $

SC    The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

~     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     ~    the interest requirement is waived for the             ~fine      £ restitution.

     £    the interest requirement for the            Q   fine    Q      restitution is modified as follows:



• Findings for the total amount oflosses are required under Chapters 109A, 110, II OA, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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AO 2458    (Rev. 09/08) Judgment in a Criminal Case
                                                                #556
           Sheet SA - Criminal Monetary Penalties
                                                                                                     Judgment-Page ____6_ of
DEFENDANT:                JAMES G. MORRIS
CASE NUMBER:              4:09CR40041-002-GPM

                     ADDITIONAL TERMS FOR CRIMINAL MONETARY PENALTIES


All financial penalties are payable through the Clerk of the District Court, 750 Missouri Ave., E. St. Louis, IL 62201.
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AO 2458    (Rev. 09108) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments
                                                                  #557
                                                                                                          Judgment -   Page    7   of
DEFENDANT:                  JAMES G. MORRIS
CASE NUMBER:                4:09CR40041-002-GPM


                                                      SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A         Lump sum payment of $                              due immediately, balance due

                 not later than                                    ,or
                 in accordance           Q.   C,      9. D,   9.     E, or        9. F below; or

B     ~    Payment to begin innnediately (may be combined with               9.   C,    ~    D,    E!   F below); or

 C    E!   Payment in equal _ _ ..                (e.g., weekly, monthly, quarterly) installments of $ __ . _ _             over a period of
                           (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

 D    ~    Payment in equal ._----'""'.11thl~ (e.g., weekly, monthly, quarterly) installments of $ ~. _____ over a period of
             month      (e.g., months or years), to commence         30 .__ (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E    E!   Payment during the term of supervised release will commence within               ._ (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    E!   Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of PrISons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 o    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 o    The defendant shall pay the cost of prosecution.

 o    The defendant shall pay the following court cost(s):

 o    The defendant shall forfeit the defendant's interest in the following property to the United States:


 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
 (5) fme interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
